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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA
CR. NO 4:19-363S-01
VS.

ALDO RIGOBERTO GUERRA-GUEVARA
Defendant.

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his/her rights with respect to the pending indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this
plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is an informed and voluntary one.

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Mark W. Bennett a Date
Attorney for Defendant

I have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My attorney has fully explained, and I understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

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‘Aldo Rigoberto Guerra-Guevara Date
Defendant
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